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        Did thism atteroriginate from a m atterpending in the N orthern Region ofthe United States
        A ttorney's O ffice priorto O ctober l4,2003?      Y es        X    No

        D id thism atteroriginate from a m atterpending in the CentralRegion ofthe United States
        A ttonzey's O ftice priorto Septem ber l,20077           Y es     X      No

                                             Respectfully subm itted,

                                             W IFRED O A .FERRER
                                             UN ITED STA TES A TTO          Y


                                           By:
                                             M arc S.A nton
                                             A ssistantU nited States Attorney
                                             Flolida BarN o.148369
                                             United States Attonzey'sO ffice
                                             Southern DistrictofFlolida
                                             99 N .E.4th Street
                                             M iam i,Florida 33132
                                               Telephone:(305)961-9287
                                               Facsimile:(305)536-4675
                                               Em ail:M arc.Antono usdoi.lov
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AO 9I(Rev.08/09) CriminalComplai
                               nt

                                 U NITED STATES D ISTRICT COURT
                                                         forthe
                                              Southern DistrictofFlorida

               United StatesofAmerica

                             V.                                   CaseN0. l:-                            -w r
                Sam uelBaptiste and
             Jose Noela.k.a AbdulJabar,
                     Defendantls)

                                               CRIM INAL COM PLAINT

        1,thecomplainantin thiscase,statethatthe following istruetothebestofmy knowledgeand belief.
Onoraboutthedatets)of             10/10/2016through 1q/07/2016 inthecounty of
                                                    -                                       MiamiDade            inthe
    Southern   -   -
                       Districtof         Flori
                                              da         ,t
                                                        - .hedefendantts)violated:
          CodeSection                                               OffenseDescription
18 U.S.C.j371                             Conspiracyto Smuggle Goodsfrom the Uni
                                                                               ted States -SamuelBaptisteand
                                          Jose Noela.k.a.AbdulJabar'
                                                                   ,

18 U.S.C.j922(g)(1)                       Felon in possession ofa firearm -Sam uelBaptiste'
                                                                                          ,

18 U.S.C.j922(g)(5)(B)                    Alien in possessi
                                                          on ofafirearm -Jose Noela.k.a.AbdulJabar.



        Thiscriminalcomplaintisbased on these facts:
SEE ATTACHED AFFIDAVIT




        W Continuedontheattachedsheet.


                                                                                  Complainan ssi
                                                                                               gnature




Sworntobeforeme and sigped in my presence.

                                                                                                             -
                                                                                                             .




City and state:                     Miami, Flori
                                               da                     HonorableW illi
                                                                                    am C.Turnos,U.S.M agistrate
                                                                                     Printed nameand title
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                   AFFIDAVIT IN SUPPO RT OF CRIM INAL COM PLAINT

         Youraffiant,Timothy J.Dietz,tirstbeing duly sworn,doeshereby depose and stateas

  follow s:

                 I am a Special Agent (1çSA'') with the United States Federal Bureau of
  lnvestigation (FBI)and havebeen since2009.Among my dutiesasan FB1SpecialAgent,Inm
  responsible forthe investigation ofviolations offederallaw,including federallaws related to

  nationalsecurity. Iam eurrently assigned to the FBI'sJointTerrorism Task Force (ûçJTTF''),
  w here m y prim ary responsibilitiesinclude the investigation ofintem ationalterrorism .

         2)      Iam familiarwiththefactsandcircumstancessetforthin thisaffidavitasaresult
  ofm y participation in the investigation'
                                          ,asa resultofm y experience,training, and background as

  a Special A gent w ith the FBl and w ith the JTTF; as a result of personal observations and

  exam ination of relevantevidence'
                                  ,and as a resultofinform ation provided to me by other law

  enforcementofticers and witnesses. The information contained in thisaffidavitisnotinclusive

  of a1l the facts of the investigation and is provided for the lim ited purpose of establishing

  probablecauseto obtain a crim inalcomplaint.

                This affidavit is subm itted in supportof a criminalcomplaint for the arrest of

  SAM UEL BAPTISTE (hereinafter ûûBAPTISTE'') and JOSE NOEL mk.a. Abdul Jabr
  (hereinafterreferredto asûûNOEL'')forConspiracy to SmuggleGoodsfrom theUnitedStatesin
  violation of Title 18,United States Code,Sections 371 and 554. M oreover,BAPTISTE did

  know ingly possess a fireann and am m tm ition, having been previously convicted of a crim e

  punishableby imprisonm entforatenn exceeding one year,in and affecting interstatecomm erce,

  inviolation ofTitle18,United StatesCode,Section922(g)(1),andNOEL didknowinglyreceive
  orpossessa fireann and nmm unition,being aperson adm itted to the United Statesunderanon-
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  immigrantvisa,asthattenn isdetined in sedion 101(a)(26)ofthelmmigration andNationality
  Act(8U.S.C.1101(a)(26)),in an affedinginterstatecommerce,in violation ofTitle 18,United
  StatesCode,Section 922(g)(5)(B).
                                      PR O BA BLE C A U SE

                ln late April 2014,agents w ith the Federal Bureau of lnvestigation initiated an

  investigation on SAM U EL BAPTISTE after it w as observed that he operated num erous social

  mediaaccounts(including theTumblraccounttlKhilafahaiti''andtheFacebookaccountçlAbdul
  JalilRashid Imarah'')praising United Statesdesignated telw ristsUsamabin Laden and Anwar
  Al-Awlaki,in addition to encouraging jihad and referencing becoming a martyr.The FBI
  assessed that BAPTISTE used his social media accounts since at least 2013 to disseminate

  extremistpropaganda,topraiseattacksconducted orinspiredbyA1Qaeda,andtopromotetravel
  toSyriaforjihad.
                During an audio recorded conversation with an FBIundercoveremployee(CIFBI
  UCE'')on August26,2016,BAPTISTE stated thatwhilehe wasdton the run'',arefereneeto
  when BAPTISTE had rem oved a courtordered GPS monitoring device and was avoiding law

  enforcementin 2013,an o1d companion ofhisused to alwaysgoto theshooting range and thatat

  thetim e,BAPTISTE stated,11Ihad planned on traveling and m oving outofthe country. . . lhad

  two firearms,like lhad aknifeform yselfand my ex-wife had like a .22...like a realsm alllitlle

  gun.''BAPTISTE wentontosaykllfIhaveayoungerbrotherfrom theM asjid,let'ssayaperson
  with no record, 19,20,21 or som ething like that,1 can easily getsom ething in their nam e.''

  BA PTISTE explained to the FBI U CE that he could not geta tirearm in his own nnm e because

  once convicted a person's rightto have a firearm is withdrawn from him , and itw ould take 7

  yearsforhisrightsto berestored butthatBAPTISTE did notiçplan on being herethatlong.''
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                 During thesam econversation,BAPTISTE also clarified thatitwasnotdifficultto

  geta weapon in the US and thathe knew people thatsold $:...stufflike that.tûlvike iflwanted

  one form yself it's no big deal,but l'm not gonna take the chance ofhaving som ething like that

  in m y car or having som ething like that on m e unless 1'm using it and som ething like that,but

  justforthepurposeofhavingit,youknow,that'stoo much ofarisk,youknow,thatcouldsend
  m e back to prison and stufflike that.So no.''

                 In m id-o ctober2016,agents w ith the FederalBureau ofInvestigation launched an

  investigation of N O EL based on inform ation provided by a FB 1 M iam i Confidential Hum an

  Source(k1CHS'').TheCHS wastirstintroducedtoNOEL throughamutualassociate,SAMUEL
  BAPTISTE (hereinafterreferred to asBAPTISTE)on oraboutOctober10,2016. On October
  11,2016,N O EL told the CH S abouta security com pany he w as trying to establish in Haitiand

  his desire to obtain guns forthis com pany. N O EL told the CH S he w ould like to obtain a 7--56

  rifle w hich N OEL explained was sim ilar to an A R-15 assaultritle. N O EL told the CH S thathe

  had previously obtained illegal guns from fam ily m em bers in Pom pano, Florida and further

  claim ed to have transported concealed weaponsto H aitiin the past. N OEL then described how

  he had concealed w eapons in the pastby secreting them in CD players,radios,and cars,w hich

  were then exported to H aiti. D uring this m eeting,N OEL further explained his plansto m arry a

  U.S.citizen forthe sole purpose of obtaining legalstatus in the U .S.,asw ellas revealed his

  ideological support for the killing of attendees at a LGBT (Lesbian,Gay, Bisexual, and
  Transgender)paradeinHaiti.
         8)     On October 17,2016,the CHS again metwith NOEL and BAPTISTE.Dlzring
  thismeeting,NOEL advisedtheCHSthathe(NOEL)hadno authorization tocarry aweaponin
  the U .S. N evertheless,N O EL told the CH S thathe needed a 9m m handgun and also advised that
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  an AR 15 could be expensive butthathe would purchase one anyway. NOEL then showed the

  CH S pictures of purchases he had m ade during his trip to the U .S., which w ere described by

  CHS asapicttlreoftwo handguns. NOEL stated hehad paid $80.00 foroneand $250.00 forthe
  othergun. NOEL further advised the CHS thatthe item swere hidden som ewhere in Pompano

  Beach and thathe plamwd to have them placed into a container and sentto Haiti.BAPTISTE

  then toldNOEL thatifNOEL foundsomethingtobuy (referringtoweapons),he,NOEL would
  have to find a place to ensure they were in good working condition.NOEL then stated thathe

  would taketheweapon apartto detennineiftheweapon could fireornot.

         9)     On October20,2016,theCHSagainmetwithNOEL.Duringthisaudiorecorded
  meeting,NOEL infonned the CHS abouthisprojectofbuying carsand shippingthem to Haiti.
  NOEL also told theCHS thathewould like to getaweapon by nextweek becausethen he could

  putitin the cars,boxes,orother stuffthatshipsto Haiti. NOEL claim ed thatwhen he hides

  som ething,no one would find it. NOEL told the CHS thathe needed 9mm weapons for his

  com pany,and stated that although he already had som e 9m m w eapons, he would buy tqfty ifhe

  hadthemoney,assecurity agentsworking athissecurity com pany carry .12 and 9mm weapons.

         10)    During this same meeting,NOEL told the CHS thatM uslims in Pakistan and
  Turkey were looking for an ally in Haiti so that they could attack Guantanam o because the

  M uslimswere being tortured there.NOEL noted thatifHaitihad trueM uslim s, thatthey w ould

  have already attacked G uantanam o. W ith regard to the plan to attack Guantanam o, N OEL told

  the CH S thathehad a plan in place,and thatthisplan would be executed soon. U nderN O EL'S

  plan,the prisoners of G uantanam o once freed would thereafter hide in H aiti, which was why

  they needed material(refening to weapons)to attack back. Attheend ofthemeeting,NOEL
  rem inded theCHS to takehim to agun range.


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          11)     Additionally, BAPTISTE has previously posted numerous online statements
  expressinghisencouragementandapprovalofviolentjihad,thekillingofnon-believers,andthe
  perpetration of itlone w olf' style attacks against W esterners for their perceived aggression

  againstM uslim s.

                  O n O ctober 20,2016,the CH S,in a conversation thatagain w as audio recorded,

  had a separate discussion with BAPTISTE about going to a gun range. The CHS infonued

  BAPTISTE thatNOEL hasindieated to him thathe wanted to go to a gun range. BAPTISTE

  then told the CH S thathe did notknow ofa gun range thatdid notrequire ID orreportto the

  police,butasked theCHS ifhe knew ofany gun rangesthatdid notnm recordschecks, orw here

  they couldjustgoandshow 1D,asBAPTISTE wantedtogothere.
                  On Odober 22, 2016,the CHS had a recorded telephone conversation with

  BAPTISTE regarding the gun range. BAPTISTE told the CHS hew asnotsure ifhe would be

  able to m ake itto therangeon October23,2016,butstated thathewould try and agreed to meet

  CH S atN OEL'S residence.

                  On October23,2016,N OEL,BAPTISTE,and the CHS entered the Florida Gun

  Center located at 1770 W est 38th place,H ialeah, Florida 33012. Once inside,BAPTISTE,

  NOEL,and the CH S were captured on video surveillance by the Florida Gun Centeraswellas

  by m em bers of the FBI M iam i JTTF, renting, possessing, and thereafter shooting m ultiple

  firearm s inside the facility.

          l5)    Laterthatday,an employeeoftheFloridaGun Centerprovided theFBlwiththe
  original liability fonns signed by both BAPTISTE and NOEL as well as a copy the

  identifications thatBA PTISTE and N OEL presented to em ployees. This liability fonn indicated

  the use of tw o boxes of 9m m am m unition and two boxes of .223 am m unition as w ell as the
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  rentaloftd1 Sig 3205''11l M 9''5tû1 Sig 2299'7and ûd1 AR15''* The Florida Gun Centerthereafter

  voluntarily turned over the w eapons utilized by BAPTISTE and N O EL which w ere fonnally

  identitied by the FBIM iamiJTTF asfollows:

                 1 Sig Sauer 320 9m m with serialnum ber58A 070264
                 1 Beretta 9m m M 9 w ith serialnum berM 9-183745
                 1 Sig Sauer P226 9m m w ith serialnum ber47A 169579
                 1Smith & W esson SportM & P Sportwith serialnumberSX01461

          16) M oreover,agents received a purchase receipt obtained from the Florida Gun
  Center bearing custom er nam e SA M U EL BA PTISTE, hom e phone 305-793-2397, w hich

  displayed in partthe rentalof one Sig SauerP320,one Sig SauerP226,one Beretta M 9, and one

  Sm ith and W esson M & P Sport,as wellasam m unition and targets.

                Later that day,on Odober 23,2016 BAPTISTE sent the FBl UCE via social

  m edia a seriesofpictures ofhim selfloading a gun,pointing two handguns,and a video ofhim

  shooting. BAPTISTE declared that he did not have any problems at the range.BAPTISTE

  prom ised to teach the U CE how to shootata laterdate.

         18)    On oraboutOdober26,2016,UCE and BAPTISTE again hadcontacton social
  m edia w herein BA PTISTE advised that he opened a new online eom m unications platform

  named lllihadiGear''and that itwould be çûsim ilarto preparation ehannel''. The m essages on

  Jihadi G ear consisted of a series of im ages of handguns, knives and sem i-autom atic w eapons

  posted on O ctober 25 and 26, 2016. The im ages ind uded an im age of m en w earing black,

  carrying a black banner and toting rocketlatm ehers and m achine guns, as w ell as an im age of a

  cache ofw eapons with the Islam ic State banner.There w ere a series of Y outube videosreposted

  on October 26, 2016, which included:M aking a M achete with No Power tools - Survival,

  Prepper,Beginning Blade M akers;H ow to M ake a Burning laser G un; H ow to M ake a Sm oke

  Bomb;Simple Smoke Bom b:Sugar + Crayons + KN O3;How To make Smoke Bom b From

                                                 6
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  Coca Cola;How To M ake Colored Sm oke Grenades;How to M ake Sm oke Grenade atHom e

  (DIY -HomemadeBomb);How to Makea Smoke Grenade -M 18 Grenade;M ake a Small&
  Insanely Loud A irsoftG renade /Tutorial;and H ow to M ake an A irsoftLandm ine.BAPTISTE

  indicated to the FBIU CE thatthese bom bs could be m oditied.

                 On December 16,2011,BAPTISTE was convicted of one count of Strongarm

  Robbery,in violation ofFlorida Statue 812.13(2)(C),underM iami-DadeCounty casenumber
  1710-036345,and w assentenced to 2 years im prisonm entas a habitualfelony offender.

         20)     On November01,2016,Homeland Security Investigations($tHS1'')advised the
  FB1M iamiJTTF thatJOSE N OEL isan alien who iscurrently in the United Stateson a B1/B2

  N on-im m igrant V isitor For Business and Pleasure V isa. A s such,N O EL was adm itted to the

  United Statesin Septem ber2016 under a non-imm igrantvisa asthatterm isdefined in Section

  101(a)(26)oftheImmigration andNationalityAct. Moreover,HS1recordsshow thatNOEL is
  also notthetype ofalien presentintheUnited Statesunderthecircum stancessetfol'th in Title 18

  UnitedStatesCodeSection922(y)(2)andisnotauthorizedtopossessafirearm.
         21)     On November 03,2016,Bureau of Alcohol,Tobacco and Fireanns (tIATF'')
  advised your affiant that none of w eapons identitied above w ere m anufactured in the state of

  Florida and thata11fourtirearm sdeseribed above had thustraveled in interstatecom merceprior

  to being in the state ofFlorida.

         22)     OnNovember5,2016,BAPTISTE,NOEL and CHSwenttoashippingeontainer
  acquired by the CHS. CHS had told BAPTISTE andN OEL thatthe containerwasscheduled to

  be shipped to H aiti on N ovem ber 7, 2016. lnside the container w ere FBl-acquired item s that

  resem bled relief item s to be shipped to H aiti. A m ong the item s w ere pallets of food, dothing,

  vehide tires,and household appliances. Also placed inside the container concealed under
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  clothingwere two FBl-provided riflesand fouram munition magazinesforthose ritles. The rifles

  w ere tw o Rock R iver A l'm s LAR-15 sem i-autom atic assaultrifles. The w eapons w ere provided

  to N O EL based on his requeststo the CH S to obtain A lb ls-style riflesforhim .

                 According to the CHS,once inside the container,the weaponswere revealed by

  the CH S to BA PTISTE and N OEL. BA PTISTE and N O EL took photographs of them selves

  carrying the w eapons.D uring consensualm onitoring ofthism eeting, w hen the CH S asked about

  how to concealthe weapons,BAPTISTE mentioned thatthey could watch a YouTube video

  online on how to break down an AR-15 rifle and that they will breakdown all the way.

  BAPTISTE recomm ended concealing the ritles in the tires but N OEL responded that the

  w eapons would be seen.

                 According to the CHS,BAPTISTE and NOEL planned to return to the container

  on November6,2016,to concealtheweaponsfurtherin preparation forshipping. The w eapons

  wereplaced back in theclothing bin beforeBAPTISTE,N OEL, and CHS departedthe container.

         25)     Afterleaving the container,NOEL and the CHS stopped atan automated teller
  machinewhereN OEL paid the CHS $300 in cash foroneoftherifles.

                                          CONCLUSION

         26)     Based on the foregoing facts, your affiant respectfully subm its that there is
  probable cause to believe that SA M U EL BA PTISTE and JO SE N O EL have eaeh com m itted a

  violation of federal law ,to wit: Conspiracy to Smuggle Goods from the United States in

  violation of Title 18,United States Code, Sections 371 and 554. M oreover,BA PTISTE did

  know ingly possess a tireann and am m unition, having been previously convided of a crim e

  punishable by im prisonm entfora term exceeding one year, in and affecting interstate com m eree,

  in violation ofTitle 18,United StatesCode, Section922(g)(1),andNOEL did knowinglyreceive


                                                 8
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      orpossess afirearm and ammunition,being a person admitted to the United Statesunderanon-

      immigrantvisa,asthatterm isdetined in sedion 101(a)(26)ofthelmmigration and Nationality
      Act(8U.S.C.1101(a)(26)),in an affecting interstatecommerce,in violation ofTitle 18,United
      StatesCode,Section922(g)(5)(B).
            F UR TH ER YO UR A FFIA N T SA YE TH NA U GH T.


                                                      -M-'r p . ?
                                              TIM O TH Y J.D IETZ
                                              SPECIA L AG EN T
  '
                          # .h                FEDERA L BU REA U O F INV ESTIGA TIO N
      Subsc edS)o and s      beforeme in
      M i i,Flofidathis     day pfNovem ber,2016.
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  UN ITED STA TES M A GISTR ATE JU D GE
  SO UTHERN D ISTRICT OF FLO RIDA




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